1. The evidence failing to show malice, either express or implied, the verdict of guilty of the crime of murder was without evidence to support it.
2. The failure to charge the law of accidental homicide was error. *Page 189 
3. Involuntary manslaughter in the commission of a lawful act was not involved in this case.
4. Evidence is not admissible which has for its purpose simply to bolster the testimony of another witness to be offered.
5. It was not error to refuse to permit a witness to answer, on cross-examination, the question, "How long since you have been out of the chaingang in Fulton County?"
6. It was not error to charge the law of involuntary manslaughter in the commission of an unlawful act.
7. An assignment of error, complaining of the admission of certain evidence over objections, but failing to state what objections were urged, presents no question for decision.
       No. 15280. NOVEMBER 19, 1945. REHEARING DENIED DECEMBER 3, 1945.
Robert Lee Smith was convicted of murder, with a recommendation of mercy, on an indictment which alleged that on February 26, 1945, in Oglethorpe County, he "did then and there, unlawfully and with force of arms, . . feloniously, and with malice aforethought, with a certain red Dodge, one-ton truck, which he had and held, and operated and was driving, the same being a weapon likely to produce death, . . make an assault upon one Harry Bowling, hereinafter referred to as the deceased, and the said Robert Lee Smith, with said weapon did then and there unlawfully, feloniously, and with malice aforethought, strike, hit, run into and against the said deceased, thereby giving the deceased mortal wounds, of which the said deceased then and there died, the operation of said truck by the said Robert Lee Smith, being then and there done at the time of driving on, over and into Harry Bowling, in a wanton and reckless disregard for human life, and in a reckless, wanton and unlawful manner, contrary to the laws of said State, the good order, peace and dignity thereof."
The conviction rests on circumstantial and direct evidence. The evidence for the State disclosed that at about 3 p. m. on February 26, 1945, Harry Bowling was found dead on a public highway between Athens and Crawford, Georgia, within the corporate limits of the City of Crawford. The body of the deceased was badly crushed and lying face-downward on the pavement about midway between the center line and the shoulder of the road. Near the body, and in the direction of Crawford, there was a skid mark on the pavement, indicating that brakes had been applied *Page 190 
on an automobile immediately after it had struck the deceased. There was a tire imprint on the back of the decedent's coat. An investigation led to the arrest of the defendant, who was found in the possession of a red Dodge truck in Hutchins, Georgia, at about 6 o'clock on the afternoon of the homicide. An examination of the truck revealed that the right front tire had a tread similar to the imprint found on the deceased, and the right front fender of the truck was damaged. On the trial a witness testified that this damage to the fender existed prior to the homicide. When arrested, the defendant denied any knowledge of the homicide, but admitted that he had been driving along the road at about 2:30 or 3 o'clock that afternoon. A negro boy, who was in the truck with the defendant, also denied any knowledge of the homicide, and when questioned was told by the defendant that he had nothing to worry about since he was not driving. Later that night, the negro boy, according to the testimony of one of the arresting officers, voluntarily made a statement concerning the circumstances of the homicide.
A number of witnesses testified to the effect that they saw a truck driven by a negro on the Athens-Crawford highway near the time of the homicide. None of the witnesses testified as to the manner of the operation of the truck.
The State's case rested mainly on the testimony of Samuel Evans, who testified that on the date of the homicide he was invited by the defendant to ride with the defendant from Athens, Georgia, to Stephens, Georgia, in a red Dodge truck in which there was a casket and other funeral equipment, which the defendant was carrying to a funeral. The witness further testified: "I could not tell you exactly when we left Athens, as I did not have a watch. He picked me up on the corner. It was after dinner. We left Athens and started towards Stephens. Robert was driving the car; he was driving all the way. In driving this red Dodge truck from Athens to Stephens, Robert ran into and hit somebody; he hit a white man before we got to Crawford. I did not know his name then; I did not know him at the time. We were then in the city limits of Crawford. This white man, at the time Robert hit him, was on the right of the road coming towards Crawford. He was walking about two feet inside the pavement on the right-hand side going towards Crawford. We were going in the same *Page 191 
direction. I saw the man before he hit him. There was nothing in sight to keep Robert from seeing him. I could not tell you whether or not he did see him, as I don't know. At the time the truck struck this white man he was running about 40 or 45 miles an hour. At the time that Robert struck the white man, I said, `Watch out, you hit a man.' Then we saw a mule, and he said, `We ought to have hit the mule,' and I said, `Well, he has seen his best days, just as well turn him out to eat.' He did not apply his brakes; he applied his brakes after he hit him. What I mean is he touched them. We did not stop then. He struck the man from the back and that knocked the white man down. I could not tell you whether he ran over him or not at the speed he was going. He didn't stop. After Robert said what he did about the mule and I said they might as well turn it out to graze, he didn't say nothing until he got to Stephens, Georgia. What he said then was, `You didn't have nothing to do with it, you wasn't driving,' and he said not to talk to anybody about it. Robert said, `You needn't say anything about it, or have anything to do with it.' He told me not to tell it; that is what he said. We didn't stop in Crawford; we slowed up in Crawford and started to cross the railroad and backed and asked some colored people if that was the road to Stephens, Georgia. We did not stop for the State patrol when we came back; we stopped at a filling station and got a nickel's worth of apples and a drink right at a corner there, and I saw a sign marked `Hutchins, Georgia.' While we were there the State patrol came there. They talked to us about it. I did not tell them about it then. They questioned Robert and they questioned me; I don't know what they asked Robert. They questioned us separately. I told them I didn't know nothing about it. They put me in the State patrol car, and Robert came back to Crawford with the truck, and they brought us over there to this jail, and Robert said to keep my mouth shut, that is all. Robert said for me not to have anything to do with it. I was not driving the truck. Later on I gave the information about what I have told now to the State patrol. Whatever statements were made by me to the State patrol were freely and voluntarily made, without the lightest hope of reward or hope of benefit. I freely and voluntarily told what transpired. Later I went in company with this State patrol officer out to the place where the man was killed. He *Page 192 
carried me out there and I showed him how it happened." On cross-examination the witness testified: "Coming into Crawford you come up a hill. I would say that you could see anybody walking up the road or coming towards you or going the other way for 300 yards when people was in the flat. I don't know where the chimneys are on the top of the hill, the Crawford place; that was the third time I was ever in Crawford. As to whether on the top of the hill you can see a man almost at the turn, from the top of the hill you can see all the way. I saw this man all the way coming down that hill, all the way from the top of the hill. As to whether I did not say a thing to Robert about it, I didn't have a right to say anything about it. The man was coming towards Crawford. I said there was a mule on the other side of the highway right where we were coming up. I don't know that was about the edge of Crawford before you get to Crawford; it was a few hundred yards. I saw that mule. . . The mule was on the side of the highway on the shoulder. . . That was not where he struck the man. The mule was over the hill from where he struck the man. . . I did not say anything to Robert about the man being in front of us, as he was driving the truck. I was sitting on the front seat. . . I saw the man 25 or 30 yards before we got to him. He was on the same side we were on. As to why I did not say, `Wait, Robert, there is a man in front of us,' I didn't know but what he saw him. . . I told the officers I did not see any man. As to whether I told them there was not a man there, I told them I did not see any man. The reason I didn't say anything to Robert was he was driving the truck and looking just like I was. That was his business. As to what Robert was doing just before he hit him that he did not see him, before Robert got to the man he reached in the floor board. As to why he was doing that, at that time I was looking to see what he was doing. I had seen this man before we got to him. As to how far back I was when I saw this man, I would say we was 300 feet when I saw him. . . The man was walking down the road like I might be walking down the road. No horn was tooted as I heard. If he had a horn he did not blow it. . . I said nothing to him to prevent the accident. . . I don't know why the man walked in front of the truck; he was a way in front of us. He did not turn around at any time as I seen. The truck does not make a *Page 193 
great deal of noise; it runs like a car. . . I did not see the man turn to see what happened. He kept a-going, walking ahead, and never turned and never looked. If he had been looking back he could have seen the truck. He could have heard the truck probably. When we hit the man the truck straightened up and pulled around; the truck straightened up."
The mayor of Crawford testified that an ordinance had been passed by the City of Crawford, and under the ordinance the speed limit was 30 miles per hour on the highway where the homicide occurred. There was other testimony to the effect that the road at the scene of the homicide was 20 feet wide and straight, and that there was nothing to obstruct the view of a driver for several hundred yards.
Witnesses for the defendant testified as to the bad character of the witness, Samuel Evans. Two of these witnesses, who were related to the defendant, swore that they would not believe the witness Evans on oath. No witnesses were offered in rebuttal to this testimony.
The defendant in his statement to the jury admitted that he drove the truck from Athens through the Town of Crawford on the day of the homicide, stating that he left Athens about 15 minutes later than he was supposed to have left, and stating further, "We came straight on to Crawford and didn't have a minute's trouble." He then told about his going to Stephens with the funeral equipment, and his arrest later by the State patrol.
The exception is to the overruling of a motion for new trial on the general grounds and ten special grounds.
1. We deal first with the general grounds of the motion for new trial. It is contended that there could be no conviction of murder in this case for the reason that no malice, either express or implied, was shown. As evidence of the fact that the question now under consideration presents difficulties, it may be stated that, so far as we have been able to determine, in no case before this court where the question now under consideration *Page 194 
has been raised, in a case involving death as the result of the decedent's being struck by an automobile, has there been a full-bench decision.
It is provided by our law as follows: "Murder is the unlawful killing of a human being, in the peace of the State, by a person of sound memory and discretion, with malice aforethought, either express or implied." Code, § 26-1002. "Express malice is that deliberate intention unlawfully to take away the life of a fellow creature, which is manifested by external circumstances capable of proof." § 26-1003. "Malice shall be implied where no considerable provocation appears, and where all the circumstances of the killing show an abandoned and malignant heart." § 26-1004. "Manslaughter is the unlawful killing of a human creature, without malice, either express or implied, and without any mixture of deliberation whatever, which may be voluntary, upon a sudden heat of passion, or involuntary, in the commission of an unlawful act, or a lawful act without due caution and circumspection." § 26-1006. "Involuntary manslaughter shall consist in the killing of a human being without any intention to do so, but in the commission of an unlawful act, or a lawful act, which probably might produce such a consequence, in an unlawful manner: Provided, that where such involuntary killing shall happen in the commission of an unlawful act which, in its consequences, naturally tends to destroy the life of a human being, or is committed in the prosecution of a riotous intent, or of a crime punishable by death or confinement in the penitentiary, the offense shall be deemed and adjudged to be murder." § 26-1009.
These sections of our Code must be considered together. The section first quoted, defining murder, expressly provides that malice must be present. Section 26-1006, above quoted, expressly provides that malice, either express or implied, differentiates murder from manslaughter, both voluntary and involuntary. Can it be said that the provision in section 26-1009, "that where such involuntary killing shall happen in the commission of an unlawful act, which, in its consequences, naturally tends to destroy the life of a human being, . . the offense shall be deemed and adjudged to be murder," has the effect of dispensing with the proof of malice in this class of cases? We think not. The only definition that we have of murder in our law is one in which the fact *Page 195 
of malice, either express or implied, must appear. We do not think, therefore, that in any case can there be murder without malice, either express or implied.
We are next confronted with the question whether all unlawful acts resulting in the death of a human being would justify the presumption of malice. We do not think so. This presumption of malice exists only when the killing "shall happen in the commission of an unlawful act which, in its consequences, naturally tends to destroy the life of a human being."
The final question for consideration is whether the proved facts in the instant case, in the light of what has been said above, show implied malice. The first pronouncement of this court on the question now under consideration, in a case where the killing was the result of the decedent's having been struck by an automobile, appears to be the case of Wright v. State,166 Ga. 1 (2), 4 (141 S.E. 903). The question there dealt with was raised by a demurrer to a count in an indictment, which alleged that the accused wrongfully, unlawfully, and involuntarily, and while in the commission of an unlawful act, to wit, driving an automobile upon a highway described, at a speed of 50 miles per hour, when going around a curve and while meeting a wagon (as alleged in the indictment), did run and drive the automobile against and upon the person named, an infant of three years, who was standing on the extreme outer edge of the highway, and in clear view of the accused, thereby inflicting upon that person a mortal wound from which he died. This court there said: "There can be no murder without malice express or implied. If an indictment does not allege malice in express terms, it must do so by employment of equivalent words. Gates v. State, 95 Ga. 340
(22 S.E. 836). The proviso in section 67 [Code, § 26-1009] is founded on the principle of implied malice, and does not dispense with necessity of expressly alleging implied malice or its equivalent in an indictment for murder. If it did so, it would conflict with section 60 [Code, § 26-1002]; and it should not be so construed. The proviso in section 67 does not name specific acts that would bring a case within its provisions. The second count in the indictment does not expressly allege implied malice. Whether it alleges the equivalent of implied malice depends upon the language employed. To be sufficient for that purpose the alleged acts of the defendant *Page 196 
should be done `so carelessly and recklessly that the law would imply an actual intention to kill from the mere wantonness of the act, and death resulted.' Pool v. State, 87 Ga. 526 (8) (13 S.E. 556). The allegation in the second count that the specific acts in their `consequences naturally tended to destroy the life' of the child is no broader than the specific facts alleged. These were insufficient to imply malice. The second count of the indictment was sufficient as a charge of involuntary manslaughter in the commission of an unlawful act, but it was not sufficient as a charge of murder." We conclude that evidence, in order to show the equivalent of implied malice, must not only show an unlawful act but must also show acts of the defendant so careless and reckless that the law would imply an actual intention to kill from the mere wantonness of the act, and death resulted. Butler
v. State, 178 Ga. 700 (173 S.E. 856), was a case in which this court upheld a conviction of murder. In that case it appeared that the defendant was under the influence of whisky, and that, "just before he got to the negro, he `run clear across the road' and off the pavement and knocked the negro over."Jones v. State, 185 Ga. 68 (194 S.E. 216), was a case in which the deceased was killed by being hit with an automobile. There the driver of the automobile was under the influence of intoxicating liquor. The evidence showed that the occupants of the defendant's car "were hollering like drunken negroes." It further appeared that the accused was arrested "about thirty minutes after the deceased was struck. The accused was lying very drunk in his automobile. There were empty whisky and wine bottles in his car, and his car had been injured, a running-board knocked off." This court affirmed a conviction of murder in that case, but in the opinion used this language: "We do not mean that every unlawful act resulting in the destruction of a human being would justify the presumption of malice. It is only when the killing `shall happen in the commission of an unlawful act which in its consequences naturally tends to destroy the life of a human being' that the law will imply malice, so as to make the homicide murder." In Meadows v. State, 186 Ga. 592 (199 S.E. 133), a conviction of murder was affirmed. There the defendant was under the influence of whisky, and was "driving his car that afternoon in a manner they [witnesses] regarded as reckless." A witness riding *Page 197 
with the defendant testified, "I told him three times before he hit the man that yonder was a man walking." One witness testified that the car "wobbled." The next case in which an automobile was involved appears to be Powell v. State, 193 Ga. 398
(18 S.E.2d 678). In that case it appeared that the cars collided, as a result of which an occupant of one of the cars was killed. A conviction of murder was upheld. It there appeared "that the decedent's car was on its right side of the road, and almost ran into the ditch just before the collision, because the driver was trying to dodge the approaching car of the defendant and the ditch; that the defendant's car `was coming kindly cross the road.'" It was shown that the defendant was under the influence of whisky.
The last case of this character before this court was Josey
v. State, 197 Ga. 82 (28 S.E.2d 290). In that case a conviction of murder was upheld. There the facts showed that the defendant, in the business section of a town, at night with the street lights burning and the lights burning on his car, with nothing to obstruct his view, while driving his automobile at a lawful rate of speed, ran into a company of troops marching in a public street; that when he first hit the men his car slowed, by reason of the impact, almost to a stop; that he appeared to change gears on his car and lunged forward through the company of men, knocking down and injuring some ten or fifteen of the men, and finally hitting and killing the deceased, who was forty or more feet from the place where he first ran into the column of men. It likewise appeared that he was under the influence of whisky.
We think that all of those cases differ on their facts from the instant case. In all of those cases, the defendant appeared to be under the influence of whisky. In this case, the defendant was not under the influence of any intoxicant. The evidence fails to show that he was driving on a street or in a thickly populated community. The State patrol officer referred to the scene of the killing as being "out here on the highway near Crawford." The witness, Samuel Evans, said that the deceased "was on the right side of the road coming towards Crawford;" also that he saw a mule on the highway a few hundred yards before you get to Crawford, and that the deceased was struck by the automobile over the hill from where he saw the mule. We think it a fair conclusion from the record that the deceased was hit by the automobile inside *Page 198 
the city limits of Crawford, but on the road or highway outside the populous part of the city. We therefore have a situation in which the car was being driven within the limits of a municipality, but in fact out of the city on a country road or highway. The only unlawful act proved on the part of the defendant was that he was operating the automobile at a rate of speed of "about 40 or 45 miles per hour," while the ordinance of the City of Crawford provided a maximum speed limit of 30 miles per hour. Can it be said that this defendant, who, under the evidence, was guilty of no unlawful act other than driving his car at a speed of 40 or 45 miles per hour, when the city ordinance provided a speed limit of 30 miles per hour, at a point which in fact, although within the city limits, was on a country road, was "so careless and reckless that the law would imply an actual intent to kill from the mere wantonness of the act, and that death resulted?" We think not. The evidence in this case did not show an unlawful act "which, in its consequences, naturally tends to destroy the life of a human being." There was no evidence of express malice. It follows that the verdict is without evidence to support it and must be set aside.
Special ground 1, being a mere amplification of the general grounds, is controlled by the ruling herein made.
2. In special ground 2, complaint is made because the court failed to charge the rules with reference to circumstantial evidence (Code, § 38-109), how intention may be manifest (§ 26-202), and accident (§ 26-404). The only portion of this ground in which any merit appears is that dealing with the failure to charge the rule with respect to accidental homicide as embodied in the Code, § 26-404. The jury, under the State's evidence, could have found that the deceased came to his death by walking in front of the truck driven by the defendant, and the defendant was entitled to a charge on accidental homicide, irrespective of whether a written request was made.
3. Special grounds 3 and 4, complaining of excerpts from the charge, show no error. The first of these grounds complains because the court eliminated from the charge the theory of involuntary manslaughter in the commission of a lawful act. This grade of homicide was not involved under the evidence or the defendant's statement, and the court properly withheld it from consideration by the jury. The other ground, complaining of an instruction as *Page 199 
follows, "I charge you, gentlemen, that pedestrians and motor vehicles have equal rights to the highways of this State," shows no harmful error, the criticism of this charge being that the court should have charged in connection therewith other propositions of law. In the absence of a written request, no error appears.
4. Special ground 5 complains of the admission of testimony by a State trooper, who was offered as a witness for the State, to the effect that Samuel Evans made a statement concerning the homicide, and that this statement was freely and voluntarily made. Ground 6 complains of the same evidence elicited from the witness Samuel Evans. To this testimony counsel for the defendant made timely objections.
Samuel Evans was the State's main witness. He was not a joint defendant or coconspirator. When the evidence was offered, a lengthy colloquy, which we deem unnecessary to quote, occurred between the judge and counsel. The court properly refused to allow the witness to testify as to the contents of any statement made by Samuel Evans, and ruled out of evidence the use of the word "confession;" but permitted the State trooper, the first witness for the State, to testify that Samuel Evans had made a statement to the officers concerning the manner in which the homicide occurred, and that the statement was freely and voluntarily made. This testimony was not offered in rebuttal of evidence submitted by the defendant. It could have been offered for but one purpose — to bolster the testimony of the State's main witness, who later testified. The statement testified about was not made in the presence of the defendant. We think that the evidence was inadmissible; and on another trial of the case it should not be allowed to go to the jury. The same ruling applies to the evidence of a similar nature given by the witness Samuel Evans.
5. As to special ground 7, the court did not err in refusing to allow the State's witness, Samuel Evans, to answer on cross-examination, over timely objection, the following question: "How long since you have been out of the chaingang in Fulton County?" Howard v. State, 144 Ga. 169 (2) (86 S.E. 540);Swain v. State, 151 Ga. 375 (4) (107 S.E. 40); Morgan v.State, 17 Ga. App. 124 (3) (86 S.E. 281); Braxley v.State, 17 Ga. App. 196 (5) (86 S.E. 425). *Page 200 
6. In special grounds 8 and 9 error is assigned because the court charged the law of involuntary manslaughter in the commission of an unlawful act, as embodied in the Code, § 26-1009; it being contended, (1) that there was no evidence authorizing such a charge, and (2) that the indictment being for murder, and containing no count alleging involuntary manslaughter in the commission of an unlawful act, the defendant could not be convicted of this grade of homicide. The assignment of error is without merit. As to the first objection, there was ample evidence authorizing the charge; and as to the second objection, the indictment for murder was sufficient to include the lesser offense. See Reams v. State, 24 Ga. App. 135
(100 S.E. 230).
7. The last ground of the amended motion, in which complaint is made "that the court erred in admitting in evidence over objections of movant the copy purporting to be a copy of the ordinance of the Town or City of Crawford," is too indefinite and incomplete to present any question for decision, in that it is not shown what objections were urged at the trial to the admission of this evidence, and the documentary evidence is not set out literally or in substance in the motion for new trial, or attached thereto as an exhibit.
Judgment reversed. All the Justices concur, except Bell, C.J., and Candler, J., who dissent, and Head, J., disqualified.Duckworth and Atkinson, JJ., concur specially.